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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :
                                                                   :
                                                                   : 1:03 MDL 1570 (GBD)(SN)
                                                                   :
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This Document Relates to
Maher, et al. v. Iran, et al.
1:20-cv-00266 (GBD)(SN)




                                     EXHIBIT B
                                               to the

       AFFIDAVIT OF DENNIS G. PANTAZIS, ESQ. IN SUPPORT OF
           APPLICATION FOR CERTIFICATE OF DEFAULT
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